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         EXHIBIT C-3
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                          Sonos, Inc. v. Google LLC
Bill of Costs | Exhibit C‐3 | Deposition Exhibit Costs, Civil L.R. 54‐3(c)(3)

            Deponent           Vendor Invoice No(s). Job Date    Exhibit Amount
   Almeroth, Ph.D.,Kevin      Veritext 5103884      6/22/2021            $382.85
   Almeroth, Ph.D.,Kevin      Veritext 6333588      1/30/2023            $796.40
   Armstrong, Jeffrey         Veritext 6009402      8/26/2022            $146.50
   Bakewell, Christopher      Veritext 6334999      1/31/2023             $35.00
   Beckhardt, Steve           Veritext 6192288      11/17/2022           $107.00
   Bender, Kristen            Veritext 5997722      8/23/2022            $104.00
   Bhattacharjee, Samrat      Veritext 6335154      1/30/2023             $35.00
   Bobohalma,Ramona           Veritext 5763149      5/5/2022              $18.90
   Butts, Chris               Veritext 6052035      9/20/2022            $168.00
   Chan,Christopher           Veritext 6208075      11/29/2022             $8.10
   Coburn, Tad                Veritext 5910150      7/12/2022            $154.00
   Cooke,Chris                Veritext N/A          6/7/2022               $0.00
   Corbin, Keith              Veritext 5825519      5/31/2022             $33.00
   Corbin, Keith              Veritext 5827503      6/1/2022              $35.00
   DesRoches, David           Veritext 6209033      11/22/2022            $30.00
   Elliott, Allison (House)   Veritext 5819519      5/27/2022             $40.00
   Farrar, Graham             Veritext 5693862      3/28/2022            $134.00
   Ghosh,Debajit              Veritext 5822950      5/20/2022              $8.55
   Goddard,James              Veritext 5926215      7/19/2022              $5.85
   Graham, Adam               Veritext 5787023      5/13/2022              $7.00
   Graham, Adam               Veritext 5799953      5/18/2022              $9.50
   Hoadley,Joni               Veritext 5718924      4/13/2022         $3,009.50
   Jardini, Andre             Veritext N/A          1/26/2023              $0.00
   Kendall, Jason             Veritext N/A          8/18/2022              $0.00
   Keniston,Kelly             Veritext 5760296      4/28/2022             $63.00
   Kennedy, Brandon           Veritext 6009605      8/30/2022            $266.00
   Kowalski,Tim               Veritext 6557413      5/8/2023             $145.00
   Kwasizur, Alaina           Veritext 6211145      11/30/2022           $111.50
   Kyriakakis, Christos       Veritext 5073303      6/11/2021            $164.85
   Kyriakakis, Christos       Veritext 5620196      3/1/2022             $852.15
   Lambourne, Robert          Veritext 5835216      6/6/2022             $359.50
   Levai, Janos               Veritext 6284807      1/6/2023             $260.00
   Levai,Janos                Veritext 5760213      5/4/2022              $14.40
   MacKay,Kenneth             Veritext N/A          1/25/2023              $0.00
   MacKay,Kenneth             Veritext 5780982      5/10/2022            $123.30
   Maclellan,Tavis            Veritext 6182065      11/11/2022             $5.85
   Maigret,Michael            Veritext 5791073      5/13/2022             $61.65
   Malackowski, James         Veritext N/A          8/26/2022              $0.00
   Malackowski, James         Veritext 6336610      1/30/2023            $810.70
   Millington, Nick           Veritext 5887429      6/29/2022            $457.50
   Mills,Ali                  Veritext 5790132      5/13/2022             $47.70
   Mo,Vincent                 Veritext N/A          4/19/2022              $0.00
   Mo,Vincent                 Veritext 5737655      4/20/2022             $14.40
   Nicholson,David            Veritext 5741180      4/21/2022             $34.20
   Patil 30(B)(1),Umesh       Veritext 5828821      4/20/2022              $0.45
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                          Sonos, Inc. v. Google LLC
Bill of Costs | Exhibit C‐3 | Deposition Exhibit Costs, Civil L.R. 54‐3(c)(3)

           Deponent        Vendor Invoice No(s). Job Date  Exhibit Amount
   Patil 30(B)(6),Umesh   Veritext 5737655      4/20/2022           $14.40
   Patnoe, Chris          Veritext 5902553      7/7/2022            $22.50
   Pedro, Justin          Veritext 5900129      7/7/2022            $15.75
   Prieto‐Gasco, Oriol    Veritext 6208208      11/29/2022           $5.85
   Schmerder, Juergen     Veritext 6004907      8/25/2022           $15.00
   Schmidt, Douglas       Veritext 5541966      1/25/2022          $148.05
   Schmidt, Douglas       Veritext 5629422      3/3/2022           $147.50
   Schmidt, Douglas       Veritext 6341298      2/2/2023           $727.65
   Schmidt, Douglas       Veritext N/A          1/25/2022            $0.00
   Schmidt, Douglas       Veritext 5103327      6/25/2021          $325.65
   Schonfeld, Dan         Veritext 6017937      8/31/2022          $795.50
   Schonfeld, Dan         Veritext 6346900      2/3/2023           $485.00
   Schulert, Andrew       Veritext 6197634      11/18/2022          $27.00
   Shekel,Tomer           Veritext 6202476      11/22/2022          $31.05
   Torgerson, Jeff        Veritext 5986198      8/11/2022           $28.50
   Valente, Christina     Veritext 5785015      5/11/2022           $48.00
   Varner, Thomas         Veritext N/A          1/25/2023            $0.00
                                                     TOTAL     $11,897.70
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      See C-1 Invoices
